              v.                                                       Nos.: 3:17-CR-82-TAV-CCS-1
                                                                             3:17-CR-82-TAV-CCS-2
              RANDALL KEITH BEANE, and
                                                                                                           ,_.
              HEATHER ANN TUCCI-JARRAF,                                                         rri c:     c::=
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                             Defendants.                                                        ;::;:;~
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                                      MEMORANDUM OPINION AND ORDER :=:                          ~-t ~
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                      This criminal matter is before the Court on the Report and Rec01mnendaE.on (the

              "R&R") entered by United States Magistrate Judge C. Clifford Shirley, Jr., on November

              16, 2017 [Doc. 62]. In the R&R, Magistrate Judge Shirley recommends that the Court

              deny the defendants ' motion to dismiss the indictment [Doc. 43] and deny the defendants'

              many supplemental filings purporting to void the indictment and other parts of the record

              [Docs. 42, 45, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57]. On November 30, defendant Tucci-

              Jarraf filed a pro se document which the Court construes as raising objections to the R&R

              [Doc. 65]. Then, on December I , defendant Tucci-Jarraf filed a "Declaration of Receipt,

              No Receipt, and Service," which the Court also construes as raising objections to the R&R

              [Doc. 66]. 1 Defendant Beane has moved to join both of defendant Tucci-Jarraf's filings,




                     1
                       In this filing, defendant Tucci-Jarraf asserts that she was served with a copy of the R&R
              on November 17, 2017 [Doc. 66 p. 1]. If so, then both documents were properly filed within the
              fourteen-day window for objections to the R&R. See Fed. R. Crim. P. 59(b)(2). The Court
              assumes this to be the case for purpose of this opinion.
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         Case 3:17-cr-00082-TAV-CCS Document 69 Filed 12/05/17 Page 1of5 PagelD #: 2998
  asserting they are similarly situated in that defendant Beane also believes the Court lacks

  jurisdiction over him [Docs. 63, 67-68]. Finding defendant Beane's motions to join to be

  well-taken, the Court will grant those motions.

         The district court must conduct a de nova review of those portions of a magistrate

  judge's report and recommendation to which a party objects, unless the objections are

  frivolous, conclusive, or general. See 28 U.S.C. § 636(b)(l); Fed. R. Crim. P. 59(b)(3);

  Smith v. Detroit Fed'n of Teachers, Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987); Mira

  v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). "The parties have 'the duty to pinpoint

  those portions of the magistrate's report that the district court must specially consider.'"

  Mira, 806 F.2d at 637 (quoting Nettles v. Wainwright, 677 F.2d 404, 410 (5th Cir. 1982)).

  "[A]bsent compelling reasons," parties may not "raise at the district court stage new

  arguments or issues that were not presented to the magistrate." Murr v. United States, 200

  F.3d 895, 902 n.1 (6th Cir. 2000) (citing United States v. Waters, 158 F.3d 933, 936 (6th

  Cir. 1998)); see alsoMarshallv. Chater, 75F.3d1421, 1426-27 (10th Cir. 1996) ("[I]ssues

  raised for the first time in objections to the magistrate judge's recommendation are deemed

  waived."). The Court "may accept, reject, or modify, in whole or in part, the findings or

  recommendations" of the magistrate judge. § 636(b)(l).

         Here, the Court finds that it need not conduct a de nova review of any portion of the

  R&R because the defendants' "objections" are frivolous, conclusive, and general. In her

  first filing, defendant Tucci-J arraf merely obtained a copy of the R&R, handwrote

  ambiguous remarks on the top and bottom of each page, signed and marked each page with

                                               2


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I     a red fingerprint, and refiled the altered document with the Clerk of Court [Doc. 65].

      Although these remarks are difficult to read, almost all are some variant of the following:

      "*Original Instrument* Entirety, Duly rejected, without dishonor, for due cause. Lacks

      due verification and validation, with signature and seal, or presenter's [unknown word]:

      1. Identification; 2. Authority; 3. Authorization; and, 4. Indorsement" [Id. at 1]. Defendant

      Tucci-Jarraf also lists the CMJECF numbers of numerous docket entries in this case,

      without elaboration [Id. at 1, 16]. And, on the last page of the R&R, she has circled

      Magistrate Judge Shirley's signature and included the following remark: " **Special note:

      Doc 55, and Doc 54, and specifically ' FINAL NOTICE,' restated, still in effect, and effect

      w/ clarification: not ledgered against any individuals" [Id. at 16].

              In her second filing, defendant Tucci-Jarraf explains the circumstances under which

      she received a copy of the R&R by U.S. mail, purchased a certified copy of the same from

     . the Clerk of Court with additional CM/ECF markers, and then filed a physically altered

      version with the Clerk on December 1 [Doc. 66 pp. 1-2]. Defendant Tucci-Jarraf asserts

      that she has "duly rejected, without dishonor, for due cause,'' the R&R on the ground that

      neither Magistrate Judge Shirley nor the Clerk provided "due markings, inclusive of due

      identification, date, indorsement, certification, validation, or verification" [Id. at 2]. 2




             2
               Defendant Tucci-Jarraf also complains that she incun-ed "unreasonable extra costs" by
      having to file these documents via personal service because the Clerk's office informed her on
      November 30 that no personnel were available to electronically file the documents [Doc. 66 p. 2].
      She has also attached docwnentation of these costs [Id. at 25-27]. This complaint does not appear
      to be an objection to the R&R itself; nor does defendant Tucci-Jarraf request any relief from the
      Court on this point. Thus, the Court does not consider this issue here.
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    /
                  Defendant Tucci-Jarraf has also attached altered and unaltered versions of the R&R and

                  copies of email correspondence among the parties [Id. at 6-24]. She does not, however,

                  raise any additional substantive objections to the R&R.

                         The Court first notes that Magistrate Judge Shirley included a proper electronic

                  signature on the final page of the R&R [Doc. 62 p. 16]. No other form of"due verification

                  and validation" is required by any federal rule or statute of which the Court is aware, and

                  defendants have not cited to any such requirement. Indeed, Rule 11 of the Eastern District

                  of Tennessee Electronic Case Filing Rules and Procedures expressly provides as follows:

                  "Any order or other court-issued document filed electronically without the handwritten

                  signature of a judge or clerk has the same force and effect as if the judge or clerk had signed

                  a paper copy of the document and it had been entered on the docket in paper fonn." Further,

                  defendant Tucci-Jarraf never specifies how Magistrate Judge Shirley and the Clerk should

                  have verified the R&R. Moreover, beyond this issue, defendant Tucci-Jarrafs remarks

                  offer no legal or factual argument the Court could properly consider, and they certainly do

                  not "pinpoint those portions of the [R&R]" under objection. Mira, 806 F.2d at 637 (quoting

                  Nettles, 677 F.2d at 404). The Court is, frankly, unclear what these objections mean, if

                  intended as objections at all. The Court is, of course, mindful of its duty to "liberally

                  construe the briefs of pro se litigants and apply less stringent standards to parties

                  proceeding prose." Bouyer v. Simon, 22 F. App'x 611, 612 (6th Cir. 2001). But having

                  searched defendant Tucci-Jarrafs filings for any substantive objection to the R&R, the

                  Court is unable to locate any issue it could subject to de nova review.


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                   Nevertheless, the Court has independently reviewed the R&R and is in complete

            agreement with Magistrate Judge Shirley ' s recommendations, which the Court adopts and

            incorporates into this ruling. Accordingly, the Court ACCEPTS IN WHOLE the R&R

            [Doc. 62]. Defendant Beane's motions [Docs. 63, 67-68] to join the filings of defendant

            Tucci-Jarraf are hereby GRANTED. Furthermore, to the extent they may be considered

            motions, the defendants ' motion to dismiss the indictment [Doc. 43] and supplemental

            filings purporting to void the indictment and other parts of the record [Docs. 42, 45, 48, 49,

            50, 51, 52, 53 , 54, 55, 56, 57] are all hereby DENIED.

                   IT IS SO ORDERED.




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      ecf@tned.uscourts.gov]                          .,,,
      Sent: Tuesday, December 05, 20 17 3:53 PM
      To: tned_Courtmail@tned.uscourts.gov
      Subject: Activity in Case 3: 17-cr-00082-TAV-CCS USA v.
      Beane et al (TV1) Order on Motion to Dismiss

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      The following transaction was entered on 12/5/2017 at 3:53
      PM EST and filed on 12/5/2017
    · Case Name:
      USA v. Beane et al (TV1)
      Case Number:
      3: 17-cr-00082-TAV-CCS
      Filer:
      Document Number:
      69
      Docket Text:
      MEMORANDUM OPINION AND ORDER as                to Randall Keith
      Beane (1), and Heather Ann Tucci-Jarraf        (2); the Court
      ACCEPTS IN WHOLE the R&R Doc. [62].            Defendant Beanes
      motions Docs. [63], [67] [68] to join the      filings of


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      defendant Tucci-Jarraf are hereby GRANTED. Furthermore,
      to the extent they may be considered motions, the
      defendants motion to dismiss the indictment Doc. [ 43] and
      supplemental filings purporting to void the indictment and
      other parts of the record Docs. [ 42], [ 45], [ 48], [ 49],
      [50], [51], [52], [53], [54], [55], [56], [57] are all
      hereby DENIED. Signed by Chief District Judge Thomas A
      Varian on December 5, 2017. (JAN, )Copies mailed to pro
      se parties


      3: 17-cr-00082-TAV-CCS-1 Notice has been electronically
      mailed to:

      Francis L Lloyd, Jr FLLloydJr@gmail.com,
      LloydlawOff@gmail.com, M.Denise.DuBose@gmail.com

      Cynthia F Davidson cynthia.davidson@usdoj.gov,
      Case View. ECF@usdoj.gov,
      USATNE. ECFKnoxCrim@usdoj.gov,
      paige. chiaro@usdoj.gov, sh an non .green@usdoj.gov,
      sonya. hardin@usdoj.gov, terrie .scharer@usdoj.gov

      Stephen G McGrath lawyer.mcgrath@yahoo.com

     Anne-Marie Svolto anne-marie.svolto@usdoj.gov,
     CaseView. ECF@usdoj.gov,
     USATN E. ECFchattcrim@usdoj.gov,
     donna.qualls@usdoj.gov, gail. holt@usdoj.gov,
     jeanette.sorey@usdoj.gov, joshua. kelly2@usdoj.gov,
     kris .eslinger@usdoj.gov, laura. clapp@usdoj.gov,
     stephanie. morris@usdoj.gov, terrie .scharer@usdoj.gov



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      3:17-cr-00082-TAV-CCS-1 Notice has been delivered by
      other means to:

      Randall Keith Beane
      52505-074
      BLOUNT COUNTY
      DETENTION CENTER
      920 E LAMAR ALEXANDER PARKWAY
      MARYVILLE, TN 37804

      3: 17-cr-00082-TAV-CCS-2 Notice has been electronically
      mailed to:

      Francis L Lloyd, Jr FLLloydJr@gmail.com,
      LloydLawOff@gmail.com, M.Denise.DuBose@gmail.com

      Cynthia F Davidson cynthia.davidson@usdoj.gov,
      CaseView. ECF@usdoj.gov,
      USATN E. ECFKnoxCrim@usdoj.gov,
      paige. chiaro@usdoj.gov, sh an non .green@usdoj.gov,
      sonya. hardin@usdoj.gov, terrie .scharer@usdoj.gov

      Stephen G McGrath lawyer.mcgrath@yahoo.com

      Anne-Marie Svolto anne-marie.svolto@usdoj.gov,
      CaseView. ECF@usdoj.gov,
      USATN E. ECFchattcrim@usdoj.gov,
      donna.qualls@usdoj.gov, gail. holt@usdoj.gov,
      jeanette.sorey@usdoj.gov, joshua. kelly2@usdoj.gov,
      kris.eslinger@usdoj.gov, laura.clapp@usdoj.gov,
      stephanie .morris@usdoj.gov, terrie .scharer@usdoj.gov

      3:17-cr-00082-TAV-CCS-2 Notice has been .delivered by


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      other means to:

      Heather Ann Tucci-Jarraf
      105 Orchard Lane
      Oak Ridge, TN 37830
      The following document(s) are associated with this
      transaction:

      Document description:Main Document
      Original filename:n/a
      Electronic document Stamp:
      [STAMP dcecfStamp_ID=1062680380 [Date=12/5/2017]
      [ FileNumber=3463237-0
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  Heather Ann Tucci-Jarraf
  I 05 Orchard Lane
  Oak Ridge, TN 37830




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                                          Certificate of Service

   I certify that on December 12, 2017, this original instrument, "REJECTION", was duly issued and
       caused to be delivered by personal service to the alleged Clerk of Court. Furthermore, said
 REJECTIONS was duly scanned, with certified copy out, and said scan of this original instrument was
  caused to be filed and entered electronically. Notice of this filing is sent by operation of the alleged
 Court's electronic filing system to all alleged parties indicated on the electronic filing receipt. Alleged
            parties may access this filing through the alleged Court's electronic filing system.

   With further due notice and certification made and given that I am not responsible, accountable, or
  liable for any actions, or no-actions, of the alleged Clerk of Court, her alleged deputies, and alleged
                 office, and the electronic filing system they access, utilize, and manage .
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